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                                                 U.S. Department of Justice
                                                 United States Attorney
                                                 District ofNew Jersey


 A^S^UnM^^AUomev
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                                          Newark, New Jersey 07102                 Phone:973-645-2761
 Margaret Mahoney
 Assistant United States Attorney
 MaM/Plea-AOR
 2016R00409


                                                 November 29, 2017
 Mr. Robert Galantucci, Esq.
 Galantucci, Patuto, DeVencentes,
 Potter & Doyle, L.L.C.
 55 State Street
 Hackensack, New Jersey 07601

         Re:      Plea Agreement: Nicole Pier

 Dear Mr. Galantucci:

      This letter sets forth the plea agreement between your client, Mrs. Nicole Pier
and the United States Attorney for the District of New Jersey ("this Office"). Should
y^r client wish to accept this offer, the executed original must be received by this
Oltice no later than close of business on December 15, 2017. If an executed
agreement is not returned to this Office by that date, this offer will expire.
Charge


       Conditioned on the understandings specified below, this Office will accept a
guilty plea from Nicole Pier to an Information that charges her with a dual object
conspiracy to receive and accept a gratuity, contrary to Title 18, United States Code
Section 201(c) and with making false claims against the United States knowing such
clairns to be false, fictitious, or fraudulent, contrary to Title 18, United States Code
Section 287 and in violation of Title 18, United States Code, Section 371.
        If Mrs. Pier enters a guilty plea and is sentenced on this charge and otherwise
fully complies with all of the terms of this agreement, this Office will not initiate any
further cnminal charges against Mrs. Pier for the criminal conduct alleged in the
Information, provided that Mrs. Pier admits under oath at the time of her guilty plea
to the cnminal offense describe above and that said conduct is taken into account as
relevant conduct by &e Court at the time of sentencing under U.S.S.G. Section
lB1.2(c}. However, in the event that a guilty plea in this matter is not entered for
any reason or the judgment of conviction entered as a result of this guilty plea does
not remain in full force and effect, Mrs. Pier agrees that any dismissed charges and
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